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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Abbott Laboratories,

                Plaintiff/Counterclaim
                Defendant,                        Case No. 1:19-cv-06587

        v.                                        Judge Sara L. Ellis

 Grifols Diagnostic Solutions Inc., Grifols
 Worldwide Operations Limited and Novartis
 Vaccines and Diagnostics, Inc.

                Defendants/Counterclaim
                Plaintiffs.


    JOINT MOTION TO EXTEND TIME TO RESPOND TO DAUBERT MOTIONS

       Plaintiff/Counterclaim Defendant Abbott Laboratories and Defendants/Counterclaim

Plaintiffs Grifols Diagnostic Solutions Inc., Grifols Worldwide Operations Limited and Novartis

Vaccines and Diagnostics, Inc., jointly move to extend the time to respond to the parties’ Daubert

motions, Dkt. 256, 261, 262.

       As explained in the concurrently filed joint letter, Dkt. 274, the parties are currently

requesting to modify the case schedule in order to accommodate additional discovery. As part of

that request, the parties have agreed to withdraw the currently pending Daubert motions (Dkt. 256,

261, 262) and re-file Daubert motions after serving new reports that take into account that

additional discovery. In order to allow the Court time to consider the parties’ request for an

extension, the parties respectfully request that the Court move the time for the parties to respond

to the currently pending Daubert motions until the Court rules on the parties’ request to modify

the schedule.
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Respectfully submitted,                     DATED: August 22, 2024


/s/ Michael A. Pearson, Jr.                 /s/ Devon Curtis Beane

Robin A. McCue (IL Bar No. 6256551)         Jeffrey R. Gargano
robin.mccue@kirkland.com                    jeffrey.gargano@klgates.com
KIRKLAND & ELLIS LLP                        Devon Curtis Beane
300 N. LaSalle                              devon.beane@klgates.com
Chicago, IL 60654                           Melissa M. Haulcomb, Ph.D.
Telephone: (312) 862-2000                   melissa.haulcomb@klgates.com
Facsimile: (312) 862-2200                   K&L GATES LLP
                                            70 West Madison Street
Gregg F. LoCascio, P.C.                     Suite 3100
gregg.locascio@kirkland.com                 Chicago, IL 60602
Michael A. Pearson, Jr.                     (312) 807-4436
michael.pearson@kirkland.com
Noah S. Frank                               Louis C. Cullman
noah.frank@kirkland.com                     louis.cullman@klgates.com
Nichole B. DeJulio                          K&L GATES LLP
nichole.dejulio@kirkland.com                1 Park Plaza
KIRKLAND & ELLIS LLP                        12th Floor
1301 Pennsylvania Avenue, N.W.              Irvine, CA 92614
Washington, D.C. 20004                      (949) 623-3559
Telephone: (202) 389-5000
Facsimile: (202) 389-5200                   Adam R. Brausa
                                            abrausa@mofo.com
Attorneys for Plaintiff/Counterclaim        Daralyn J. Durie
Defendant Abbott Laboratories               ddurie@mofo.com
                                            Bethany D. Bengfort
                                            bbengfort@mofo.com
                                            MORRISON & FOERSTER LLP
                                            425 Market Street
                                            San Francisco, CA 94105
                                            (415) 268-6053

                                            Attorneys for Defendants/Counterclaim
                                            Plaintiffs Grifols Diagnostic Solutions
                                            Inc., Grifols Worldwide Operations
                                            Limited, and Novartis Vaccines and
                                            Diagnostics, Inc.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above document has

been served on August 22, 2024 to all counsel of record via the Court’s CM/ECF filing system.


                                                   Respectfully submitted

                                           By:     /s/ Michael A. Pearson, Jr.
                                                   Michael A. Pearson, Jr.
